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Stipulation to Continue
Case No. 05-205 AWI
ANTHONY P. CAPOZZI, CSBN 068525
LAW OFFICES OF ANTHONY P. CAPOZZI
1233 W. Shaw Avenue, Suite 102
Fresno, CA 93711
Telephone: (559) 221-0200
Fax: (559) 221-7997
E-mail: capozzilaw@aol.com
Attorney for Defendants,
JASON LOMBARDO and GAYLIA LOMBARDO



                       IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
                                     * * * * *


                                         ) Case No.: CR-F-05-0205 AWI
UNITED STATES OF AMERICA,                )
                                         ) STIPULATION FOR CONTINUANCE AND
               Plaintiff,                )
                                         ) ORDER
         vs.                             )
                                         )
JASON LOMBARDO and GAYLIA                )
                                         )
LOMBARDO,                                )
               Defendants.               )
                                         )


         IT IS HEREBY STIPULATED between the Defendants, JASON LOMBARDO and
GAYLIA LOMBARDO, by and through their attorney of record, Anthony P.
Capozzi and Plaintiff, by and through Assistant United States Attorney,
Kathleen A. Servatius, that the Hearing now set for Monday, March 19,
2007 at 9:00 a.m. be continued to Monday, April 2, 2007 at 9:00 a.m.
         This request is made to allow the parties additional time to
negotiate the plea offer presented by the Government in this matter.
         It is further stipulated by the parties that any delay resulting
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from this continuance shall be excluded on the following basis:
   1. Title 18, United States Code, Section 3161(h)(1)(f) -- Any
      period of delay resulting from other proceedings concerning the
      defendant, including but not limited to any pretrial motion,
      from the filing of the motion through the conclusion of the
      hearing on, or other prompt disposition of, such motion;
   2. Title 18, United States Code, Section 3161(h)(8)(A) -- that the
      ends of justice served by taking such action outweighs the best
      interest of the public and the defendant in a speedy trial;
   3. Title 18, United States Code, Section 3161(h)(8)(ii) -- that it
      is unreasonable to expect adequate preparation for pre-trial
      proceedings or for the trial itself with the time limits
      established due to the complexity of the case.
                                           Respectfully submitted,
Dated:     March 15, 2007


                                                /s/ Anthony P. Capozzi
                                           Anthony P. Capozzi,
                                           Attorney for Defendants,
                                           JASON LOMBARDO and
                                           GAYLIA LOMBARDO

Dated:     March 15, 2007

                                                /s/ Kathleen A. Servatius
                                           Kathleen A. Servatius
                                           Assistant U.S. Attorney


                                        ORDER

      IT IS SO ORDERED.         Good cause having been shown, the Hearing now

set for March 19, 2007 be continued to April 2, 2007 at 9:00 a.m.

Additionally, time shall be excluded by stipulation from the parties

and      pursuant   to     18   USC   §§   3161   (h)(1)(f),   3161(h)(A)   and

3161(h)(B)(ii).

IT IS SO ORDERED.

Dated:    March 16, 2007                    /s/ Anthony W. Ishii
0m8i78                                UNITED STATES DISTRICT JUDGE
